AO 106 (Rev. 04/10) Application for a Search Warrant

                                          UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Eastern District of Wisconsin

          In the Matter of the Search of:
                                                                     )
  Information associated with the following email address,           )
  including information associated with the Microsoft                )         Case No.        ,,___ -      ,   ¥

  accounts of such address: Karltrujillo07308@outlook.com            )
  that is stored at a premise controlled by Microsoft Online         )
  Services, Custodian of Records, a company that accepts             )
  service of legal process at One Microsoft Way, Redmond
  WA 98052-6399.


                                          APPLICATION FOR A SEARCH WARRANT
         I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
pe1jury that I have reason to believe that on the following person or property:

  See Attachment A

located in the Eastern District of Wisconsin, there is now concealed:

   See Attachment B




The basis for the search under Fed. R. Crim P. 41(c) is:
        ~ evidence of a crime;
        D contraband, fruits of crime, or other items illegally possessed;
        D property designed for use, intended for use, or used in committing a crime;
        D a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of: 18 U.S.C. Sections 2423, 2251 and 2252.


The application is based on these facts: See attached affidavit.

D Delayed notice of _ _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ _~ is requested
    under 18 U.S.C. § 3103a, the basis of which is set fotth on the attached sheet.




                                                                          HSI Special Agent Kevin Wrona
                                                                                       Printed Name and Title
Sworn to before me and signed in my presence:

Date:     111/hJJO.I                                                                   Judge 's signature<, 1
                                                                                                          f1
City and State: Milwaukee, Wisconsin                                     Hon. William E. Duffin           (J , U.S. Magistrate Judge
                            Case 2:20-mj-00048-WED Filed 03/24/20 PagePrinted
                                                                        1 of Name
                                                                              41 and
                                                                                  Document
                                                                                     Title
                                                                                           1
    AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A SEARCH WARRANT

       I, Kevin Wrona, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

        1.      Special Agent Kevin Wrona has been employed as a Special Agent ("SA") of the

U.S. Depaiiment of Homeland Security, Homeland Security Investigations ("HSI"), since 2010,

and is cunently assigned to the HSI Office of the Resident Agent in Charge (RAC) in

Milwaukee, Wisconsin. SA Wrona has received training in the area of child pornography and

child exploitation, and has had the oppmiunity to observe and review numerous examples of

child pornography (as defined in 18 U.S.C. § 2256) in all fo1ms of media including computer

media. Moreover, SA Wrona is a federal law enforcement officer who is engaged in enforcing

the criminal laws, including 18 U.S.C. §§ 2251, 2252, and 2252A, and is authorized by law to

request a search warrant.

       2.       SA Wrona makes this affidavit in suppmi of an application for a search warrant to

search the email accounts and associated cloud file hosting locations for information associated

with ce1iain accounts that are stored, owned, maintained, controlled, or operated by Microsoft,

electronic communications services or remote computing services provider located at 1 Microsoft

Way, Redmond, Washington 98052. The information to be searched consists of one (1) account

(hereinafter, the Subject Accounts) and is described in the following paragraphs and in

Attachment A. This affidavit is made in suppmi of an application for a search wairant under 18

U.S.C. §§ 2703(a), 2703(b)(l)(A) and 2703(c)(l)(A) to require Microsoft to disclose to the

government copies of the information (including the content of communications) fmiher

described in Attachment B.

       3.       The purpose of this application is to seize evidence more particularly described in

Attachment B, of violation of 18 U.S.C. § 2252(a)(4)(B), which makes it a crime to knowingly



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possesses, or knowingly accesses with intent to view, one or more books, magazines, periodicals,

films, video tapes, or other matter which contain any visual depiction that has been mailed, or

has been shipped or transported using any means or facility of interstate or foreign commerce or

in or affecting interstate or foreign commerce, or which was produced using materials which

have been mailed or so shipped or transpmied, by any means including by computer, if the

producing of such a visual depiction involves the use of a minor engaging in sexually explicit

conduct.

       4.       The statements contained in this Affidavit are based SA Wrona's experience and

background as a SA with HSI, and by information provided by Wisconsin Department of Justice

- Division of Criminal Investigation (DCI) SA Tamara Taubel. Some information in this

affidavit also comes from information received from the issuance of administrative summonses.

Because this affidavit is being submitted for the limited purpose of securing a search warrant, SA

Wrona has not included every fact known to him concerning this investigation. SA Wrona has

set forth only the facts that he believes are necessary to establish probable cause to believe that

evidence of violations of Title 18, United States Code, Sections 2423, 2251, and 2252 is located

in the accounts described in Attachment A.

       5.       In. SA Wrona and SA Taubel's training and experience, they have learned that

Google, Yahoo, and Microsoft Outlook (hereafter "email providers") provide a variety of on-line

services, including electronic mail ("e-mail") access, to the public. For example, Google allows

subscribers to obtain e-mail accounts at the domain name "gmail.com," like the e-mail accounts

listed in Attachment A; while Yahoo utilizes "yahoo.com." Subscribers obtain an account by

registering with email providers. During the registration process, the email providers ask

subscribers to provide basic personal information. Therefore, the computers of email providers



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are likely to contain stored electronic communications (including retrieved and umetrieved e-

mail for subscribers) and information concerning subscribers and their use of services, such as

account access information, e-mail transaction information, and account application information.

In SA Wrona and SA Taubel's training and experience, such information may constitute

evidence of the crimes under investigation because the information can be used to identify the

account's user or users.

        6.       An email subscriber can also store with the provider files in addition to e-mails,

such as address books, cohtact or buddy lists, calendar data, pictures (other than ones attached to

e-mails), and other files, on servers maintained and/or owned by email providers, including

Google Drive servers. In SA Wrona and SA Taubel's training and experience, evidence of who

was using an e-mail account may be found in address books, contact or buddy lists, e-mail in the

account, and attachments to e-mails, including pictures and files.

        7.       In SA Wrona and SA Taubel's training and experience, e-mail providers generally

ask their subscribers to provide ce1iain personal identifying information when registering for an

e-mail account. Such information can include the subscriber's full name, physical address,

telephone numbers and other identifiers, alternative e-mail addresses, and, for paying

subscribers, means and source of payment (including any credit or bank account number). In SA

Wrona and SA Taubel's training and experience, such information may constitute evidence of

the crimes under investigation because the information can be used to identify the account's user

or users.

        8.       In SA Wrona and SA Taubel's training and experience, e-mail providers typically

retain ce1iain transactional information about the creation and use of each account on their

systems. This information can include the date on which the account was created, the length of



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service, records of log-in (i.e., sess.ion) times and durations, the types of service utilized, the

status of the account (including whether the account is inactive or closed), the methods used to

connect to the account (such as logging into the account via the provider's website), and other

log files that reflect usage of the account. In addition, e-mail providers often have records of th.e

Intemet Protocol address ("IP address") used to register the account and the IP addresses

associated with logins to the account. Because every device that connects to the Intemet must

use an IP address, IP address information can help to identify which computers or other devices

were used fo access the e-mail account.

        9.       In SA Wrona and SA Taubel's training and experience, in some cases, e-mail

account users will communicate directly with an e-mail service provider about issues relating to

the account, such as technical problems, billing inquiries, or complaints from other users. E-mail

providers typically retain records about such communications, including records of contacts

between the user and the provider's support services, as well records of any actions taken by the

provider or user as a result of the communications. In SA Wrona and SA Taubel's training and

experience, such infmmation may constitute evidence of the crimes under investigation because

the information can be used to identify the account's user or users.

                                          DEFINITIONS

        10.      The following definitions apply to this Affidavit and Attachment B to this

Affidavit:

                 a.     "Chat" refers to any kind of communication over the Intemet that offers a

real-time transmission of text messages from sender to receiver. Chat messages are generally

short in order to enable other participants to respond quickly and in a fmmat that resembles an




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oral conversation. This feature distinguishes chatting from other text-based online

communications such as Internet forums and email.

                b.     "Child pornography," as used herein, is defined in 18 U.S.C. § 2256 (any

visual depiction of sexually explicit conduct where (a) the production of the visual depiction

involved the use of a minor engaged in sexually explicit conduct, (b) the visual depiction is a

digital image, computer image, or computer-generated image that is, or is indistinguishable from,

that of a minor engaged in sexually explicit conduct, or (c) the visual depiction has been created,

adapted, or modified to appear that an identifiable minor is engaged in sexually explicit conduct).

               c.      "Cloud Storage" refers to saving data to an off-site storage system

maintained by a third party. Instead of exclusively storing information to the computer's hard

drive or other local storage devices, the user saves it to a remote database (and or both). The

Internet provides the connection between the computer and the database. There are several

cloud-based storage options available to consumers (Dropbox, Google Drive, Box, Copy,

Amazon, One Drive), with the majority of them offering gigabytes of storage free of charge.

               d.      "Internet Service Providers" (ISPs), as used herein, are commercial

organizations that are in business to provide individuals and businesses access to the Internet.

ISPs provide a range of functions for their customers including access to the Internet, web

hosting, e-mail, remote storage, and co-location of computers and other communications

equipment. ISPs can offer a range of options in providing access to the Internet including

telephone-based dial-up, broadband based access via digital subscriber line (DSL) or cable

television, dedicated circuits, or satellite-based subscription. ISPs typically charge a fee based

upon the type of connection and volume of data, called bandwidth, which the connection

supports. Many ISPs assign each subscriber an account name - a user name or screen name, an



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"e-mail address," an e-mail mailbox, and a personal password selected by the subscriber. By

using a computer equipped with a modem, the subscriber can establish communication with an

ISP over a telephone line, through a cable system or via satellite, and can access the Internet by

using his or her account name and personal password.

               e. ,    "ISP Records" are records maintained by ISPs pe1iaining to their

subscribers (regai;dless of whether those subscribers are individuals or entities)._ These records

may include account application information, subscriber and billing information, account access

information (often in the form oflog files), e-mail communications, infmmation concerning

content uploaded and/or stored on or via the ISP's servers, and other information, which may be

stored both in computer data format and in written or printed record fo1mat. ISPs reserve and/or

maintain computer disk storage space on their computer system for their subscribers' use. This

service by ISPs allows for both temporary and long-term storage of electronic communications

and many other types of electronic data and files.

               f.      "Internet Protocol address" or "IP address" refers to a unique number used

by a computer to access the Internet. IP addresses can be dynamic, meaning that the Internet

Service Provider (ISP) assigns a different unique number to a computer every time it accesses

the Internet. IP addresses might also be static, if an ISP assigns a user's computer a particular IP

address which is used each time the computer accesses the Internet. IP addresses are also used

by computer servers, including web servers, to communicate with other computers.

               g.      "Minor" means any person under the age of eighteen years. See 18 U.S.C.

§ 2256(1).

               h.      In describing image and video files, SA Wrona and SA Taubel frequently

use the terms "pubescent" and "prepubescent." SA Wrona and SA Taubel have no formal



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medical training in the use of those terms but in applying them she relies on her experience as an

investigator and her common experience. SA Wrona and SA Taubel use the term "pubescent" to

mean a child who has begun to develop and display mature body shape and genital organs and/or

secondary sexual characteristics such as, but not limited to, the development of breasts in

females and the appearance of pubic hair and underarm hair. The term "pubescent" indicates her

opinion that the person depicted is a child and evidences some physical and sexual maturation

consistent generally with a young teenager or teenager. SA Wrona and SA Taubel use the term

"prepubescent" to describe a child who does not exhibit any, or only very limited, physical-

sexual development such as those indicators previously mentioned, such that the child appears to

be well under the age of eighteen. The terms "toddler" and "very young child" should be given

their common meanings and are used to communicate that the child depicted is clearly

prepubescent and does not appear to be even nearing pubescence.

               1.      The terms "records," "documents," and "materials," include all

information recorded in any form, visual or aural, and by any means, whether in handmade form

(including, but not limited to, writings, drawings, painting), photographic form (including, but

not limited to, microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures,

photocopies), mechanical form (including, but not limited to, phonograph records, printing,

typing) or electrical, electronic or magnetic form (including, but not limited to, tape recordings,

cassettes, compact discs, electronic or magnetic storage devices such as floppy diskettes, hard

disks, CD-ROMs, digital video disks (DVDs), Personal Digital Assistants (PDAs), Multi Media

Cards (MMCs), memory sticks, optical disks, printer buffers, smart cards, memory calculators,

electronic dialers, Bernoulli drives, or electronic notebooks, as well as digital data files and

printouts or readouts from any magnetic, electrical or electronic storage device).



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                J.      "Sexually explicit conduct" means actual or simulated (a) sexual

intercourse, including genital-genital, oral-genital, or oral-anal, whether between persons of the

same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or masochistic abuse; or (e)

lascivious exhibition of the genitals or pubic area of any person. See 18 U.S.C. § 2256(2).

   BACKGROUND ON PEOPLE WITH AN INTEREST IN CHILD PORNOGRAPHY
                 AND ONLINE CHILD EXPLOITATION

        11.     Based on SA Wrona and SA Taubel's training and experience, as well as the

training and experience of other law enforcement personnel with whom they have spoken, they

have learned the following:

                a.     Individuals who possess, transpo1i, receive, and/or distribute child

pornography often collect sexually explicit materials, which may consist of photographs, videos,

computer graphics or other images, as well as literature describing sexually explicit activity

involving children. Many of these individuals also collect child erotica, which consist of items

that may not rise to the level of child pornography, but which nonetheless serve a sexual purpose

involving children.

               b.      Individuals who possess, transport, receive, and/or distribute child

pornography often seek out like-minded individuals, either in person or on the Internet, to share

info1mation and trade depictions of child pornography.and child erotica. The different Internet-

based vehicles used by such individuals to communicate with each other include, but are not

limited to, peer-to-peer file sharing and other similar interfaces.

               c.      Individuals who possess, transport, receive, and/or distribute child

pornography often collect, read, copy, or maintain names, addresses (including e-mail

addresses), phone numbers, or lists of individuals who have advertised or otherwise made known

in publications and on the Internet that they have similar sexual interests. These contacts are


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maintained as a means of personal referral, exchange, or commercial profit. These names may

be maintained in computer storage devices, or in remote storage accounts.

                d.     Individuals who possess, transpmi, receive, and/or distribute child

pornography rarely, if ever, dispose of their sexually explicit materials and may go to great

lengths to conceal and protect their collections of illicit materials from discovery, theft, and

damage. One way to store child pornography without keeping the material on a specific device

is to use cloud-based file storage services such as Google Drive, which can be accessed through

an internet connection from any computer.

                      BACKGROUND ON NATIONAL CENTER FOR
                        MISSING AND EXPLOITED CHILDREN

        12.    Based on SA Wrona and SA Taubel's training and experience, and publicly

available information, they know that the National Center for Missing and Exploited Children

(NCMEC) is a nonprofit organization in Alexandria, Virginia, that works with law enforcement

on issues related to missing and sexually exploited children. One of the services provided and

administered by NCMEC is its CyberTipline, which serves as the national clearinghouse for

leads regarding sexual exploitation crimes against children.

        13.    In addition to reports from the general public, repmis are made by U.S. electronic

communication service (ECS) providers and remote computing services (RCS), which are

required by 18 U.S.C. § 2258A to report "apparent child pornography" to NCMEC via the

CyberTipline if they become aware of the content on their servers. Specially trained analysts,

who examine and evaluate the reported content, review leads, add related information that may

be useful to law enforcement, use publicly available search tools to determine the geographic

location of the apparent criminal act, and ultimately provide all of the gathered information to the

appropriate law enforcement agency for review and possible investigation.


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        14.     The CyberTipline receives reports, known as CyberTips, about the possession,

production and distribution of child pornography; online enticement of children for sexual acts;

child prostitution; sex tourism involving children; child sexual molestation; unsolicited obscene

material sent to a child; misleading domain names; and misleading words or digital images on

the Internet.

        15.     The CyberTip repmis will vary in detail depending on the nature of the report,

and which entity submits it. The reports can include infmmation (1) relating to the identity of

any individual who appears to have violated federal law by committing or attempting to commit

the criminal conduct described above; (2) historical infmmation on when or how a customer or

subscriber of an ECS or RCS uploaded, transmitted, or received apparent child pornography; (3)

geographical information on the involved individual or website, which may include the IP

Address or verified billing address or geographic identifying information, including area code or

zip code; (4) any images of apparent child pornography; and (5) the complete communication

containing any image of apparent child pornography. See 18 U.S.C. § 2258A(b).

                                      PROBABLE CAUSE

   Initial Information Received from the National Center for Missing and Exploited Children
                                          (NCMEC)

        16.     On January 9th , 2020, Wisconsin Depaiiment of Justice - Division of Criminal

Investigation (DCI) Special Agent (SA) Tamara Taubel was assigned the investigation regarding

nine National Center for Missing and Exploited Children (NCMEC) CyberTipline repo1is. Five

of the NCMEC CyberTipline repmis were generated by Facebook, Inc. One report was generated

by a citizen regarding the suspect's statements on Facebook. Two reports were generated by

Twitter and one by Snapchat. SA Taubel reviewed each of those CyberTipline repmis and

associated files. SA Taubel summarized each of those CyberTipline repo1is.


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       17.      SA Taubel was assigned the investigation regarding NCMEC CyberTipline

Report 39962623. The CyberTipline Report was submitted to NCMEC by Facebook. The

following user uploaded two videos of suspected child pornography:

             a. Name: Josh Nickel

                Mobile Phone: +150531014XX

                Date of Birth: 03-28-19XX

                Approximate Age: 33

                Email Address: jnickel6XX@gmail.com (Verified)

                Screen/User Name: josh.nickel. lXX

                ESP User ID: 1000132653714XX

                Profile URL: http://www.facebook.com/josh.nickel. l XX

                IP Address: 107.77.210.224 (Login) 09-06-2018 04:57:33 UTC

                IP Address: 107.77.210.132 (Other) 09-08-2018 13:01:01 UTC

               Email: jnickel6XX@gmail.com (Verified)

                Mobile Phone:+ 150241768XX (Verified)

                Mobile Phone:+ 133639024XX (Verified)

       18.      SA Taubel reviewed the two files and found that they were both the same video,

which was consistent with child pornography. SA Taubel described that video below:




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  a. Filename:

     edikl vzj540kos0o41345750 _ 1865261456900818_ 1100315358013220649

     _n.mp4

     MD5: 8d0dcf847448db9ed0cc3b7639lc2ba2

     Submittal ID: e60645cl 82a327 accl 7c35ba945d39f

     IP Address 107.77.210.132 Upload 09-08-2018 13:13:31 UTC

 b. Filename:

     eldd{6zkerxkok88c41345750- 1865261456900818- 110031535801322064

     9_n.mp4

    MD5: 8d0dcf847448db9ed0cc3b7639lc2ba2

    Submittal ID: 2a63417 d22c9b02c3efcadacf6104453

    Description: The video was one minute and thirteen seconds in length. The video

    was of a prepubescent Asian girl, with dark brown hair, laying on what appears to

    be a bed. The girl was not wearing any clothing. The video begins with a close

    camera view of the girl's lower torso area with her legs spread, exposing her

    vaginal area. In the lower portion of the video view was a Caucasian male erect

    penis being held by his right hand. The male was inserting his penis into the girl's

    anus. The male removed his penis from the girl's anus and ejaculated on her

    vaginal and anus areas. The girl was crying while this occurred. The male moved

    his ejaculate around the girl's vaginal area, with his :fingers, and stated "stop stop.

    Stop stop stop. Bad bad bad. Bad bad." A female spoke to the girl in a language

    different than English.




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       19.        Facebook provided information for the Facebook user that was sent and received

the above video. SA Taube! included that information below:

             a. Filename:

                  ediklvzj540 kos0o413457 50_ l 865261456900818_l10031535801322064 9_ n.mp

                  4

                  MD5: 8d0dcf847448db9ed0cc3b7639lc2ba2

                  Submittal ID: e60645c182a327accl 7c3Sba945d39f

                  IP Address 107.77.210.132 Upload 09-08-2018 13:13:31 UTC

                  Recipient:

                  First Name: Jon

                  Last Name: Curwood

                  Mobile Phone: +447849704349 (Verified)

                  Age: 37 DOB: 1980-10-31

                  Screen Name: jon.curwood.3

                  Profile Uri: http://www.facebook.com/jon.curwood.3

                  IP Address: 31.49.250.220

                  IP Capture Date: August 25, 2018 at 10:01:55 UTC Uploaded September 8,

                  2018 at 06:13:31 PDT

       20.        SA Taube! queried the suspect's IP addresses, provided by Facebook, through the

American Registry for Internet Numbers (ARIN). The query showed that the IP address

providers were AT&T Mobility. Those IP addresses were as follows:

             a.   107.77.210.224 (Login) 09-06-2018 04:57:33 UTC-AT&T Mobility

                  107.77.210.132 (Other) 09-08-2018 13:01:01 UTC -:-AT&T Mobility



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                107.77.210.132 Upload 09-08-2018 13:13:31 UTC-AT&T Mobility

       21.      SA Taubel was assigned the investigation regarding NCMEC CyberTipline

Report 41181864. The CyberTipline Report was submitted to NCMEC by Facebook. The

following user uploaded one video of suspected child pornography.

             a. Name: Josh Nickel

                Date of Birth: 03-28-19XX

                Approximate Age: 33

                Email Address: nascarfan2XX@gmail.com (Verified)

                Screen/User Name: josh.nickel.581XX

                ESP User ID: 100023174 7770XX

                Profile URL: http://www.facebook.com/josh.nickel.581XX

                IP Address: 107.77.210.93 (Login) 10-03-2018 05:23:58 UTC

                IP Address: 166.181.80.177 (Other) 10-03-2018 16:23:22 UTC

                Additional Information: Estimated location on 10/04/2018 UTC: Lebanon, US

                (Not Verified)

                Email: nascarfan2XX@gmail.com (Verified)

       22.      SA Taubel reviewed the uploaded video and found it consistent with child

pornography. SA Taubel described that video below:

             a. Filename:

                2xfr0z6qcn0g8kks43024177_2014745095259618_2367262803291465635

                _n.mp4 MDS: d9207dda280b039afe09bc7a8a21bble

                Submittal ID: 0aelaeec2ea12a63b0a6e7b55a9f8df7

                IP Address 166.181.80.177 Upload 10-03-2018 16:49:15 UTC



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                Description: The video was one minute and fifty-nine seconds in length. The

                video was of a prepubescent Hispanic girl with long brown hair. The girl was not

                wearing any clothing and her vagina, breasts, and buttocks were exposed. The

                video was of the girl dancing in a seductive manner. At one point in the video a

                male stated something in a language different that English. The girl paused as if

                the male voice was giving her directions and then she began dancing again. While

                the girl was dancing, at points, the camera zoomed in on the girl's exposed vagina

                and exposed buttocks.

       23.      The video was sent to and received by the following Facebook user:

             a. First Name: Mela

                Last Name: Nalca

                Mobile Phone: +62882899778XX (Verified)

                Age: XX

                DOB: 19XX-09-30

                Screen Name: mela.naka.X

                Profile Url: http://www.facebook.com/mela.naka.X

                IP Address: 115.178.212.145

                IP Capture Date: October 4, 2018 at 08:27:20 UTC

                Uploaded October 3, 2018 at 09:49:15 PDT

       24.    , SA Taubel queried the suspect's IP addresqes, provided by Facebook, through the

American Registry for Intemet Numbers (ARIN). The query showed that the IP address

providers were AT&T Mobility. Those IP addresses were as follows:




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             a. 107.77.210.93 (Login) 10-03-2018 05:23:58 UTC-AT&T Mobility

                166.181.80.177 (Other) 10-03-2018 16:23:22 UTC- Service Provider

                Corporation

                166.181.80.177 Upload 10-03-2018 16:49:15 UTC- Service Provider

                Corporation

       25.      SA Taubel was assigned the investigation regarding NCMEC CyberTipline

Report 43129551. The CyberTipline Report was submitted to NCMEC by Facebook. The

following user uploaded one image of suspected child pornography.

             a. Name: Joshua Nickel

                Mobile Phone:+ 150520461XX

                Date of Birth: 03-28- l 9XX

                Approximate Age: XX

                Screen/User Name: joshua.nickel.XX

                ESP User ID: 1000282087656XX

                Profile URL: http://www.facebook.com/joshua.nickel.XX

                IP Address: 107.77.206.203 (Login) 11-12-2018 18:28:56 UTC

       26.      SA Taubel reviewed the uploaded image and found it consistent with child

pornography. SA Taubel described that image below:

             a. Filename:

                7cp4al4jytssoco446152853_278067356383486_ 6836188759441014 784_ n.jpg

                MD5: 0d2546faeeca2cceaae90fa1305055ff

                Submittal ID: 30e3d76947146b63d83347b5a018b7c

                IP Address 107.77.206.203 Upload 11-13-2018 17:50:29 UTC



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                Description: The image was of a prepubescent Caucasian girl with long brown

                hair in braided pigtails. The girl was seated on a cream-colored chair. She was

                wearing a pink sholi sleeved shili with a calioon looking character on it and pink

                socks. The girl was not wearing any bottoms. Her legs were spread, bent at the

                knees, exposing her vaginal area. The girl was utilizing fingers from her right

                hand to touch her vagina. The focal point of the image appeared to be the girl

                touching her exposed vagina.

       27.      The user also uploaded an image as a profile photograph. That photograph was of

a Caucasian male with a receding hairline and short brown hair. The male was smiling at the

camera. He had a "scruff' looking mustache. The male was wearing a GreenBay Packers shirt

and appeared to .be wearing a black dog tag with a silver cross on it around his neck. The male

was sitting on furniture which appeared maroon in color with a goldish colored floral pattern on

it.

       28.      SA Taubel queried the suspect's IP addresses, provided by Facebook, tln:o~gh the

American Registry for Internet Numbers (ARIN). The query showed that the IP address

providers were AT&T Mobility. Those IP addresses were as follows:

             a. 107.77.206.203 (Login) 11-12-2018 18:28:56 UTC-AT&T Mobility

                107.77.206.203 Upload 11-13-2018 17:50:29 UTC-AT&T Mobility

       29.      SA Taubel was assigned the investigation regarding NCMEC CyberTipline

Report 53602361. The CyberTipline Report was submitted to NCMEC by Facebook. The

following user uploaded one video of suspected child pornography.

             a. Name: Joshua Nickel

                Mobile Phone: +150520461XX (Verified)



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                Date of Birth: 03-28-19XX

                Approximate Age: XX

                Email Address: nascarfan1XX@yahoo.com (Verified)

                ESP User ID: 1000092435166XX

                Profile URL: http://www.facebook.com/people/Joshua-

                Nickel/1000092435l66XX

                IP Address: 174.252.203.28 (Login) 08-12-2019 03:25:03 UTC

                IP Address: 97.32.3.125 (Other) 08-13-2019 18:47:27 UTC

                Email: nascarfanlXX@yahoo.com (Verified)

                Email: Karltrujillo07308@outlook.com (Verified)

       30.      SA Taubel reviewed the uploaded video and found it consistent with child

pornography. SA Taubel described that video below:

             a. Filename:

                dihfliqzoxs08o8c69193502_2950659354950421_3542539197099462177

                _n.mp4

                MD5:fe165bf8daad43305b6c94d376f50a40

                Submittal ID: 4bcbl5dfdd028b9a5bb2471fb32ea39e

                IP Address 174.252.192.100 Upload 08-13-2019 19:46:15 UTC

                Description: The video was forty-four seconds in length. The video was of a

                prepubescent Caucasian girl with blonde hair laying on her back on what

                appeared to be a bed. The blanket beneath the girl appeared to be green in color.

                The pillow had a green and blue design on it. The girl was not wearing any

                clothing and her vagina was exposed. A Caucasian adult male laying on his left



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                side on the right side of the girl. The male's upper thigh area, right hand, torso,

                upper left aim, and erect penis areas were in the view of the camera. The male

                stroked his penis towards the girl's vaginal area. The male ejaculated on the girl's

                vaginal and lower stomach areas.

       31.      The video was sent to and received by the following Facebook user:

             a. First Name: Gary

                Last Name: Anderson

                Email: andre.garyl9XX@gmail.com (Verified)

                Age: XX

                DOB: 19XX-01-30

                Gender: Male

               . Profile Url: http://www.facebook.com/people/Gary-Anderson/1000279190015:XX

                Account ID: 1000279190015XX

                IP Address: 2600:387:b:9::25

                IP Capture Date: August 14, 2019 at 19:31 :09 UTC

       32.      SA Taubel queried the suspect's IP addresses, provided by Facebook, through the

American Registry for Internet Numbers (ARIN). The query showed that the provider of the IP

addresses were Verizon Wireless. Those IP addresses were as follows:

             a. 174.252.203.28 (Login) 08-12-2019 03:25:03 UTC- Verizon Wireless

                97.32.3.125 (Other) 08-13-2019 18:47:27 UTC- Verizon Wireless

                174.252.192.100 Upload 08-13-2019 19:46:15 UTC- Verizon Wireless

       33.      SA Taubel was assigned the investigation regarding NCMEC CyberTipline

Repmi 57547643. The CyberTipline Repmi was submitted to NCMEC by Twitter, Inc. The



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following user uploaded files which, included suspected images of child pornography, to the

user's account:

             a. Phone: +192020653XX

                  Screen/User Name: Josh544041XX

                  ESP User ID: 11766220985859645XX

                  Profile URL: https://twitter.com/Josh544041XX

       34.        SA Taubel reviewed the uploaded files and observed the following:

             a. Filename: EHaFZdIXkAih4-L.jpg

               MDS: 739650670ba97874daaf83eda83lla9d

                  Submittal ID: 839f8edl 7e35dcd0cd53d08a2978albe

               Description: The image was of a young pubescent Caucasian girl, with light

               brown hair, seated on a dark surface with a white sheet as a background. The girl

               was wearing a white short sleeved shirt with "adidas" in pink lettering across the

               chest area. The girl was wearing white socks and black shoes. The girl's legs were

               spread and bent at the lmees, with her hands holding the shin area of her legs. The

               girl's vagina was exposed and appeared to be the focal point of the image.

             b. Filename: EHaNlbRWkAMi8Ms.jpg

               MDS: 9f7 ae23el dc2baefl d07 4166d05df404

               Submittal ID: a9c8d42737e28063d7d80c5f29a0e032

               Description: The image was of three Caucasian girls seated on a bed with a

               yellow, blue, pink, and green floral print on it. The girls were not wearing any

               clothing. The girl on the right was pubescent, had long brown hair, and had her

               right arm around the shoulder of the center girl. The girl on the right' s right hand



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    was covering the center girl's right breast and her left hand was covering the girl's

    left breast. The center girl was pubescent and had long light brown hair. The girl

    on the left appeared to be early pubescent and had short dark blonde hair. She was

    seated with her legs crossed. The center girl's hand was on the left girl's right

    lower thigh area. The left girl's right breast was exposed. The focal point of the

    image appeared to be the posed nude girls.

 c. Filename: EHaNx_nWwAAE9oN.jpg

    MDS: 7f897 db7 df23e2eb865a80023a226bcd

    Submittal ID: 95dl5delff885c3a7bb5el26dc731ef5

    Description: The image was of two young prepubescent Caucasian girls with

    blonde hair. One girl was seated on a wooden chair and was wearing what

    appeared to be a pink shmt sleeved shirt and a red skirt. The girl was not wearing

    any underwear and her left leg was raised, exposing her vagina. The girl in pink

    had her arms around the other girl's neck/shoulder area. The second girl was

    wearing a blue short sleeved shirt and was on the right side of the girl in pink. The

    girl in blue shiit had her left pointer finger inse1ted into the girl's vagina, who was

    wearing pink. On the left cheek area of the girl in pink was an adult Caucasian

    male's erect penis. The male's penis was being held by his right hand. The

    majority of the• male's body was outside of the frame of the photograph. Within

    the frame was his penis, right hand, a small part of his lower stomach, and the top

    pait of his open blue jeans. The male was ejaculating into the open mouth of the

    girl in blue.




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       3 5.      Within the uploaded files was a zip file entitled Josh54404 l l l-

1176622098585964549-2019- l 0-2 l-2122527. In the image section of the above file were many

images. SA Taubel observed four images that she believed were consistent with child

pornography. SA Taubel described those images below:

              a. File Name: 1186280074972151809-EHaDcPuW4AAXmm4

                 Description: The image was of a late prepubescent Caucasian girl with light

                 brown hair. The girl was seated on a dark colored surface with a blue background.

                 The girl's hand were placed at the side and slightly behind her body, propping her

                 body up. The girl was not wearing any clothing. The girl's legs were spread

                 exposing her vagina. The girl's vaginal area appeared very red in color. There was

                 a clear/white substance on the girl's stomach and vaginal area.

              b. File Name: 1186282226759192577-EHaFZdIXkAih4-L

                Description: The image was of a young pubescent Caucasian girl, with light

                brown hair, seated on a dark surface with a white sheet as a background. The girl

                was wearing a white short sleeved shirt with "adidas" in pink lettering across the

                chest area. The girl was wearing white socks and black shoes. The girl's legs were

                spread and bent at the knees, with her hands holding the shin area of her legs. The

                girl's vagina was exposed and appeared to be the focal point of the image.

              c. File Name: 1186291446355316736-EHaNx nWwAAE9oN

                Description: The image was of two young prepubescent Caucasian girls with

                blonde hair. One girl was seated on a wooden chair and was wearing what

                · appeared to be a pink sholi sleeved shi1i and a red skhi. The girl was not wearing

                any underwear and her left leg was raised, exposing her vagina. The girl in pink



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               had her arms around the other girl's neck/shoulder area. The second girl was

               wearing a blue short sleeved shirt and was on the right side of the girl in pink. The

               girl in blue shi1i had her left pointer finger inserted into the girl's vagina, who was

               wearing pink. On the left cheek area of the girl in pink was an adult Caucasian

               male's erect penis. The male's penis was being held by his right hand. The

               majority of the male's body was outside of the frame of the photograph. Within

               the frame was his penis, right hand, a small part of his lower stomach, and the top

               part of his open blue jeans. The male was ejaculating into the open mouth of the

               girl in blue.

             d. File Name: 1186291502684741632-EHaNlbRWkAMiSMs

               Description: The image was of three Caucasian girls seated on a bed with a

               yellow, blue, pink, and green floral print on it. The girls were not wearing any

               clothing. The girl on the right was pubescent, had long brown hair, and had her

               right arm around the shoulder of the center girl. The girl on the right' s right hand

               was covering the center girl's right breast and her left hand was covering the girl's

               left breast. The center girl was pubescent and had long light brown hair. The girl

               on the left appeared to be early pubescent and had short dark blonde hair. She was

               seated with her legs crossed. The center girl's hand was on the left girl's right

               lower thigh area. The left girl's right breast was exposed. The focal point of the

               image appeared to be the posed nude girls.

       36.     In the folder titled l 176622098585964549-dm-media, SA Taubel observed a

screen capture of a Twitter conversation between Josh @Josh54404 l l 1 and Elyssa @sincultl 9.

That screen capture file name was 1185951910223851524-i4Iq4Glb. Josh was requesting "some



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exclusive content of' Elyssa. Elyssa told Josh to "DM" her. Josh's Twitter profile photograph

was of a Caucasian male with short brown hair. The male had a receding hair line and a blue line

under each eye.

        37.      In the file, l 186094468258246661-ZdnwblYu, SA Taubel observed a "selfie"

style photograph of the same male was sitting in a vehicle'with gray seats. The male was wearing

a black and bright orange hooded sweatshirt. The male was wearing sunglasses.

        38.      Twitter, Inc. provided numerous IP addresses that had been utilized to login to the

account. SA Taubel queried a selection of those IP addresses through the American Registry for

Internet Numbers (ARIN). The query showed that the IP address providers were Verizon,

Charter Communications, and WiscNet. Three of those IP addresses were as follows:

              a. 216.56.8.220 (Registration) 09-24-2019 22:19:22 UTC- WiscNet

                 174.253.83.176 (Login) 10-21-2019 14:47:20 UTC - Verizon

                 174.102.129.190 (Login) 10-19-2019 15:55:40 UTC- Charter Communications

       39.       SA Taubel was assigned the investigation regarding NCMEC CyberTipline

Report 57619994. The CyberTipline Report was submitted to NCMEC by Twitter, Inc. The

following user uploaded three files which, included suspected images of child pornography, to

the user's account:

              a. Email Address: bluefilm9XX@gmail.com

                 Screen/User Name: Josh673120XX

                 ESP User ID: 11862949790245765XX

                 Profile URL: https://twitter.corn/Josh673120XX

       40.       SA Taubel reviewed the uploaded files and observed the following:




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  a. Filename: _i2z87be.jpg

     MDS: 609e2e82dbd5cf294b6ba7bef2e54609

     Submittal ID: 196fd5d9af3a97f23b9b075ad8cf72db

     Description: The image of a prepubescent Caucasian girl laying on her back. The

     girl was laying on what appeared to be a bed with gray blanket and white sheet

     with a grayish plaid pattern. The girl was wearing a light blue shiti and no

     bottoms. The girl's legs were raised in the air, bent at the knees, and spread,

     exposing her vagina and anus to the camera. There was a clear/white substance on

     the girl's anus/buttocks area. The girl was looking at the camera with a sad or in

     pain type look. The camera's focal point appeared to be the girl's anus/vagina

     area. The girl's face was visible through the center of her spread legs.

  b. Filename: h8p3jKRV.jpg

     MD5:7f897db7df23e2eb865a80023a226bcd

     Submittal ID: fffae72958lb41a6c0fb3b22e5163121

     Description: The image was of two young prepubescent Caucasian girls with

     blonde hair. One girl was seated on a wooden chair and was wearing what

     appeared to be a pink short sleeved shiti and a red ski1i. The girl was not wearing

    any underwear and her left leg was raised, exposing her vagina. The girl in pink

    had her arms around the other girl's neck/shoulder area. The second girl was

    wearing a blue sh01i sleeved shi1i and was on the right side of the girl in pink. The

    girl in blue shiti had her left pointer finger inse1ied into the girl's vagina, who was

    wearing pink. On the left cheek area of the girl in pink was an adult Caucasian

    male's erect penis. The male's penis was being held by his right hand. The



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                majority of the male's body was outside of the frame of the photograph. Within

                the frame was his penis, right hand, a small part of his lower stomach, and the top

                pati of his open blue jeans. The male was ejaculating into the open mouth of the

                girl in blue.

             c. Filename: Josh6731207 5-1186294 979024576513-2019-10-XX-XXXXXXX .zip

                MD5: 55fe6f5738d32874af7aff88c3b76531

                Submittal ID: 4d73dbda3493fdae2la444a0770e4651

                The above zip file contained numerous image and video files. Within those files

                SA Taubel observed one image that she believed to be consistent with child

                pornography. That image was described below:

                Description: The image was of a late prepubescent Caucasian girl with light

                brown hair. The girl was seated on a dark colored surface with a blue background.

                The girl's hand were placed at the side and slightly behind her body, propping her

                body up. The girl was not wearing any clothing. The girl's legs were spread

                exposing her vaginal. The girl's vaginal area appeared very red in color. There

                was a clear/white substance on the girl's stomach and vaginal area.

       41.      Twitter, Inc. provided numerous IP addresses that had been utilized to login to the

account. SA Taubel queried those IP addresses through the American Registry for Internet

Numbers (ARIN). The query showed that the IP address providers were Verizon, Wireless Data

Service Provider Corpo1iation, AT&T, and WiscNet. Three of those IP addresses were as

follows:

             a. 174.253.83.176 (Registration) 10-21-2019 14:55:45 UTC - Verizon

                166.182.250.222 (Login) 10-22-2019 17:34:06 UTC - Wireless Data Service



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                Provider Corporation

                174.253.85.245 (Login) 10-22-2019 15:54:30 UTC - Verizon

       42.      SA Taubel was assigned the investigation regarding NCMEC CyberTipline

Repmi 57873532. The CyberTipline Report was submitted to NCMEC by a citizen. The citizen

reported that through the utilization of Facebook, they observed the following:

             a. "The post has since been removed however I witnessed an exchange between two

                members of the group where they were talking about being sexually interested in

                young girls. One member asked how old the youngest was that the other had ever

                have and mentioned that he had had relations with a seven year old. The other

                member mentioned that he was "Looking to find and bring one home today" Their

                facebook names are Josh Nickel from Watertown Wisconsin. His facebook claims

                he works for 7up Bottling company. The other has a facebook name of Jimbo

                Kine. I believe this is a fake profile but this is the man who claims he has had

                relations with a seven year old. They have mentioned communicating with each

                other via facebook messenger as well."

       43.      SA Taubel was assigned the investigation regarding NCMEC CyberTipline

Report 58211494. The CyberTipline Repmt was submitted to NCMEC by Facebook:. The

following user uploaded two files which of suspected images of child pornography, to the user's

account:

             a. Name: Josh Nickel

                Date ofBilth: 03-28-19XX

                Approximate Age: XX

                Screen/User Name: josh.nickel.52XX



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                ESP User ID: 1000403802010:XX

                Profile URL: http://www.facebook.com/j ash.nickel. 52:XX

                IP Address: 216.56.8.220 (Login) 10-24-2019 17:15:19 UTC

                IP Address: 99.37.222.154 (Other) 10-25-2019 18:02:05 UTC

       44.      The NCMEC CyberTipline Report reported that both images were "identified as a

match to a known child sexual exploitation image on NCMEC's NGO hash list.

       45.      SA Taubel reviewed the two images as described them below:

             a. Filename:

                2fl{uamk3n24g8o4w74346787_443521676273033_613206989678942617

                6_o.jpg

                MD5: 9ad84613f96f1272516e8e53426e465e

                Submittal ID: eb24113a2c7c858422be5b73d9855d3f

                IP Address 99.37.222.154 Upload 10-25-2019 18:05:32 UTC

                Description: The image of a prepubescent Caucasian girl laying on her back. The

                girl was laying on what appeared to be a bed with gray blanket and white sheet

                with a grayish plaid pattern. The girl was wearing a light blue shi1i and no

                bottoms. The girl's legs were raised in the air, bent at the knees, and spread,

                exposing her vagina and anus to the camera. There was a clear/white substance on

                the girl's anus/buttocks area. The girl was looking at the camera with a sad or in

                pain type look. The camera's focal point appeared to be the girl's anus/vagina

                area. The girl's face was visible through the center of her spread legs.

             b. Filename:

                dkrp9slxezccgcso73498023 _ 724652904665604_1873769050127990784_ n.jpg



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     MDS: 8090dfd5f212ac768396fba7aaa50lfd

     Submittal ID: c4b47c5417cfe3b2b085al8adel27213

     IP Address 99.37.222.154 Upload 10-25-2019 18:05:36 UTC

     Description: The image was of two young prepubescent Caucasian girls with

     blonde hair. One girl was seated on a wooden chair and was wearing what

     appeared to be a pink short sleeved shirt and a red skirt. The girl was not wearing

     any underwear and her left leg was raised, exposing her vagina. The girl in pink

     had her arms around the other girl's neck/shoulder area. The second girl was

     wearing a blue short sleeved shirt and was on the right side of the girl in pink. The

     girl in blue shirt had her left pointer finger inserted into the girl's vagina, who was

     wearing pink. On the left cheek area of the girl in pink was an adult Caucasian

     male's erect penis. The male's penis was being held by his right hand. The

     majority of the male's body was outside of the frame of the photograph. Within

     the frame was his penis, right hand, a small paii of his lower stomach, and the top

     part of his open blue jeans. The male was ejaculating into the open mouth of the

     girl in blue.

     The above images were sent through Facebook to the following Facebook user:

  c. First Name: Jimbo

     Last Name: Kine

     Age:XX

     DOB: 19XX-12-03

     Gender: Male

     Screen Name: jimbo.ki:XX



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                Profile Url: http://www.facebook.com/jimbo.ki:XX

                Account ID: 1000413586809:XX

                IP Address: 222.155.78.97

                IP Capture Date: September 18, 2019 at 03:59:10 UTC

       46.      Josh.nickel.52XX also uploaded an image of a Caucasian male with short brown

hair. The male had a receding hair line and a blue line under each eye. Facebook reported that

this image was the profile photograph for the Facebook account

http://www.facebook.com/josh.nickel.52:XX. SA Taubel reviewed this image and found that it

was the same photograph as what was utilized as the profile photograph for a Twitter profile.

That photograph was included in the information provided by Twitter, Inc. in CyberTipline

Report 57547643. The following information for the user account was provided by Twitter in

that CyberTipline Rep01i:

             a. Phone:+192020653:XX

                Screen/User Name: Josh544041XX

                ESP User ID: 11766220985859645:XX

                Profile URL: https://twitter.com/Josh544041:XX

       47.      SA Taubel queried the suspect IP addresses, provided by Facebook, through the

American Registry for Internet Numbers (ARIN). The query showed that the IP address

providers were WiscNet and AT&T. Those IP addresses were as follows:

             a. 216.56.8.220 (Login) 10-24-2019 17:15:19 UTC- WiscNet

                99.37.222.154 (Other) 10-25-2019 18:02:05 UTC-AT&T

                99.37.222.154 Upload 10-25-2019 18:05:32 UTC-AT&T

                99.37.222.154 Upload 10-25-2019 18:05:36 UTC-AT&T



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       48.      SA Taubel was assigned the investigation regarding NCMEC CyberTipline

Repmi 59240158. The CyberTipline Report was submitted to NCMEC by Snapchat. The

following user uploaded five images of suspected child pornography:

             a. Phone: +150241768XX

                Date of Birth: 03-28-19XX

                Email Address: jnickel6XX@gmail.com

                Screen/User Name: jjnickel19XX

                IP Address: 2600:l:930e:4944:9123:8ad:6778:27b0 11-12-2019 00:51:58 UTC

       49.      SA Taubel reviewed the uploaded files and observed the following:

             a. Filename: 07f47733-b3d8-4467-8bfc-

                5e9al9a05dl8_CHAT_MEDIA_1573621077365.jpeg

                MDS: dl621109lfa8af3d3le8f3b278996dll

                Submittal ID: 0b2ef0adda39267a6dadb7f504be5fe

                Description: The image was of a young prepubescent Caucasian girl with light

                brown hair. The girl was laying on her back on what appeared to be a blue

                blanket. The girl was not wearing any clothing. The girl's legs were spread, raised

                in the air, and bent at the knees. The girl's hands were on her buttocks/upper thigh

                area, on either side of her vaginal and anus areas. The girl's face was visible

                between her spread legs. The girl's vagina, anus, and breasts were exposed. The

                girl's exposed vagina and anus appeared to be the focal point of the image.

             b. Filename: 07f47733-b3d8-4467-8bfc-

                5e9al9a05d18_CHAT_MEDIA_1573621281229.jpeg

                MDS: 8d0556dl7f4c3039a9b3e62c3dl70003



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     Submittal ID: e6dff5blefaa15ef3b388ddl 77e8a47d

     Description: The image was of three Caucasian girls seated on a bed with a

     yellow, blue, pink, and green floral print on it. The girls were not wearing any

     clothing. The girl on the right was pubescent, had long brown hair, and had her

     right arm around the shoulder of the center girl. The girl on the right's right hand

     was covering the center girl's right breast and her left hand was covering the girl's

     left breast. The center girl was pubescent and had long light brown hair. The girl

     on the left appeared to be early pubescent and had sholi dark blonde hair. She was

     seated with her legs crossed. The center girl's hand was on the left girl's right

     lower thigh area. The left girl's right breast was exposed. The focal point of the

     image appeared to be the posed nude girls.

  c. The following three image files were the same image:

     Filename: 07f47733-b3d8-4467-8bfc-

     5e9a19a05dl8_CHAT_MEDIA_1573486025453.jpeg

     MDS: dc4a2d0b4elfdlb2aa950ec22fl 73f8b

     Submittal ID: 8e2abce9lb2be6967367587cd307alf2

     Filename: 07f47733-b3d8-4467-8bfc-

     5e9a19a05dl8_CHAT_MEDIA_1573500922571.jpeg

     MDS: dc4a2d0b4elfdl b2aa950ec22fl 73f8b

     Submittal ID: 6e09a944a30d9006d847a52512cc7f5a

     Filename: 07f47733-b3d8-4467-8bfc-

     5e9al9a05dl8_CHAT_MEDIA_1573621289132.jpeg MDS:

     dc4a2d0b4elfdlb2aa950ec22f173f8b



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               Submittal ID: f73e83670c0349a2557cc67b64d9e77c

               SA Taubel reviewed the above three image files and described them as follows:

               The image was a of a young prepubescent Caucasian girl with shoulder length

               brown hair. The girl was laying on her stomach on a pink, purple, and green

               floral-patterned blanket. The girl was not wearing any clothing. An adult

               Caucasian male was kneeling, with his legs spread, straddling the girl's upper

              thigh area. The male was not wearing any clothing and his body from shoulders

              up was out of camera view. The male's hands were around the girl's waist and he

              appeared to be inserting his penis into the girl's anus.

       50.     SA Taubel queried the IP address 2600:1:930e:4944:9123:8ad:6778:27b0,

provided by Snapchat, through the American Registry for Internet Numbers (ARIN). The query

showed that the IP address provider was Sprint.

       51.    Wisconsin Department of Justice - Division of Criminal Investigation (DCI)

Program and Policy Analyst (PP A) Dana Miller requested an administrative subpoena to Charter

Communications, Inc. ordering information pertaining to 174.102.129.190 on 10/19/2019 at

15:55:40 UTC. The administrative subpoena was approved and signed by Assistant Attorney

General (AAG) David Maas on November 19th , 2019.

       52.    That IP address was utilized to login to the Twitter account,

https://twitter.com/Josh544041XX, on 10/19/2019 at 15:55:40 UTC. This information was

provided in CyberTipline Report 57547643, which had been submitted by Twitter. In the

CyberTipline Report, SA Taubel observed seven images of child pornography that had been

uploaded to the account.

       53.    On November 20th , 2019, Charter Communications provided the requested



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information. That information showed that the IP address subscriber during that time was the

following:

             a. Subscriber Name: MANAGEME CARDINAL CAPITAL

               Subscriber Address: 4:XX SUNNYSLOPE DR, HARTLAND, WI 53029-1420

               User Name or Features: wschlossXX@cardinalcapital.us

               Phone number: 262-367-28:XX

               Account Number: 7150191XX

               MAC: a86badfl b7cb

       54.     A query of the address 4XX Sunnyslope Drive, Hartland, Wisconsin, through

utilization ofwww.google.com, showed that the address was an apaiiment complex, Breezewood

Village II. The apaiiment complex was run by Cardinal Capital Management, Inc. Listed under

the property amenities was "Fee Wi-Fi."

                                        CONCLUSION

       55.     DCI received nine National Center for Missing and Exploited Children (NCMEC)

CyberTipline rep01is regarding, what was believed to be, the same suspect. Five of the NCMEC

CyberTipline rep01is were generated by Facebook, Inc. One rep01i was generated by a citizen

regarding the suspect's statements on Facebook. Two rep01is were generated by Twitter and one

by Snapchat. A total of twenty-two images of child pomography were uploaded to the suspect's

social media accounts and/or shared with other users.

       56.     There were many similarities between the different rep01ied social media

accounts, which led SA Taubel to believe that it may be the same suspect utilizing each account.

Both CyberTipline Reports 39962623 and 41181864 were both rep01ied by Facebook. Both

accounts utilized the same name, Josh Nickel, and date of bitih, 03/28/19XX, for the user



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information. In CyberTipline Report 43129551 the name was slightly different than the above

two, listing Joshua Nickel as the user. The date of birth was again listed as 03/28/19XX. In

CyberTipline Reports 43129551 and 53602361 the user utilized the same name of Joshua Nickel

and the same telephone number of 505-204-61XX. In the account reported in CyberTipline

Report 53602361, that telephone number was listed as verified. CyberTipline Report 57547643

was repmied by Twitter and 58211494 was repmied by Facebook. The Twitter account utilized

IP address 216.56.8.220 on 9/24/2019 at 22:19:22 UTC to register their account. The same IP

address was utilized by the Facebook account to login in 10/24/2019 at 17:15:19 UTC. Both

accounts also utilized the same profile photograph. CyberTipline Report 39962623 was repmied

by Facebook and CyberTipline Repmi 59240158 was repmied by Snapchat. Both users utilized

the same telephone number for their accounts, 502-417-68XX. In the Facebook account, that

telephone number was listed as verified. Both accounts also utilized the same date of bi1ih as

3/28/l 9XX and email address of jnickel.6XX@gmail.com.

       57.     For a telephone number to be listed as verified, the user must follow instructions

from the social media website to prove they have access to that telephone. For example, some

social media websites will send a confirmation code to the telephone number and make them

enter that code into the website or text back that code to the sending pmiy.

       58.     In order to positively identify the suspect, SA Wrona and SA Taubel require

additional records related to the social media accounts, and the related user information, listed in

the CyberTipline Repmis.

             INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       59.     SA Wrona anticipates executing this wmTant under the Electronic

Communications Privacy Act, in pmiicular 18 U.S.C. §§ 2703(a), 2703(b)(l)(A) and



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2703(c)(1 )(A), by using the warrant to require Microsoft to disclose to the government copies of

the records and other info1mation (including the content of communications).

        60.    Based on the forgoing, SA Wrona requests that the Court issue the proposed

search warrant.

        61.    This Court has jurisdiction to issue the requested wairnnt because it is "a court of

competentjurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(l)(A) &

(c)(l)(A). Specifically, the Court is "a district court of the United States ... that-has

jurisdiction over the offense being investigated." 18 U.S.C. § 2711(3)(A)(i).

        62.    Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.

        63.    SA Wrona requests that the Comi order Microsoft not to notify any person

(including the subscribers or customers of the account listed in Attachment A) of the existence of

the requested warrant before August 12th , 2020, or until fmiher order of the Comi. Microsoft is a

provider of an electronic communication service, as defined in 18 U.S.C. § 2510(15), and/or a

remote computer service, as defined in 18 U.S.C. § 2711(2). Pursuant to 18 U.S.C. § 2703, SA

Wrona seeks a waiTant requiring Microsoft to disclose records and information in connection

with a criminal investigation. This Comi has authority under 18 U.S.C. § 2705(b) to issue "an

order commanding a provider of electronic communications service or remote computing service

to whom a waiTant ... is directed, for such period as the comi deems appropriate, not to notify

any other person of the existence of the warrant .... " Id.

       64.     Here, such an order is appropriate because the requested warrant relates to an

ongoing criminal investigation that is neither public nor known to all of the targets of the

investigation, and its disclosure may ale1i the targets to the ongoing investigation. Accordingly,



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there is reason to believe that notification of the existence of the requested warrant will seriously

jeopardize the investigation, by giving the target an opportunity to destroy or tamper with

evidence, or otherwise seriously jeopardize an investigation. See 18 U.S.C. § 2705(b). The

suspect is not aware of the investigation into him/her. If he/she were to learn the government is

investigating him/her, he/she could destroy additional evidence of his/her crimes that may exist

and be revealed during the search of his/her Microsoft account.

       65.     Based on the forgoing, SA Wrona requests that the Court issue the proposed

search warrant. Because the wanant will be served on Microsoft who will then compile the

requested records at a time convenient to it, there exists reasonable cause to permit the execution

of the requested wanant at any time in the day or night.




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                           ATTACHMENT A- Microsoft Outlook

                                   Property to Be Searched



   This wairnnt applies to information associated with the following email addresses, including

information associated with the Microsoft accounts of such addresses:


   •    Kar1trujillo07308@outlook.com

that is stored at a premise controlled by Microsoft Online Services, Custodian of Records, a

company that accepts service of legal process at One Microsoft Way, Redmond WA 98052-

6399.




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                            ATTACHMENT B - Microsoft Outlook

                                 Particular Things to be Seized

    I. Information to be disclosed by Microsoft Outlook (the "Provider")

       To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, including any emails, records, files, logs, or information that

has been deleted but is still available to the Provider, for the time period of September 6, 2018 to

the present, the Provider is required to disclose the following information to the government for

each account or identifier listed in Attachment A:

       1.      The contents of all e-mails associated with the account, including stored or

preserved copies of e-mails sent to and from the account, the contents, draft e-mails, the source

and destination addresses associated with each e-mail, the date and time at which each e-mail

was sent, and the size and length of each e-mail, and any/all attachments to such emails to

include images and/or videos;

       2.      All records or other infmmation regarding the identification of the account, to

include full name, physical address, telephone numbers and other identifiers, records of session

times and durations, the date on which the account was created, the length of service, the IP

address used to register the account, log-in IP addresses associated with session times and dates,

account status, alternative e-mail addresses provided during registration, methods of connecting,

log files, and means and source of payment (including any credit or bank account number);

       3.      The types of service utilized;

       4.      All records or other infmmation stored at any time by an individual using the

account, including address books, contact and buddy lists, calendar data, pictures, and files; all




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records pe1iaining to communications between the Provider and any person regarding the

account, including contacts with supp01i services and records of actions taken.


       5.      The Provider shall disclose responsive data, if any, by sending it to Special Agent

Kevin Wrona, Homeland Security Investigations, 790 N. Milwaukee St., Suite 600, Milwaukee,

WI 53202, kevin.c.wrona@ice.dhs.gov, using the US Postal Service, another courier service, or

through email notwithstanding 18 U.S.C. 2252A or similar statute or code.



II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, contraband, evidence

and instrumentalities of violation of 18 U.S.C. § 2252(a)(4)(B).




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